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                          6470 East Johns Crossing | Suite 160 | Johns Cerek, GA 30097
                                         770-544-7479 phone | 888-544-7479 fax
                                             www.BullseyeAuctions.com


                                             Seller Settlement

              Seller Information                                              Auction Information
    Seller Name: Jason Pettie                                     Auction: Tip Top Tux - 1
Company Name: Chapter 7 Trustee                                         Date: Tuesday, October 17, 2023
       Address: 1600 Parkwood Circle, Suite 200                         Time: 10:00 AM EDT
                                                                  Location: 140 James Aldredge Boulevard
City, State & Zip: Atlanta, GA 30339                                          Atlanta, GA 30336
 Email Address: jpettie@taylorenglish.com
         Phone: 678-336-7226



                                                       Expenses
     Date            Amount             Merchant                                       Description


                                All expenses will be reconciled with final settlement



                                                       Summary
                                         Auction Gross:         $47,640.00
                                Auctioneer Commissions:         -$6,751.90
                                 Adjusted Auction Gross:        $40,888.10
                                 Total Auction Expenses:          N/A
                                  Auction Net to Seller:        $40,888.10
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Bullseye Auction & Appraisal, LLC
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Johns Creek, GA 30097 US
(770) 544-7479
merrin@BullseyeAuctions.com
www.BullseyeAuctions.com

INVOICE
BILL TO                                                                           INVOICE # 3958
Jason Pettie, Chapter 7                                                               DATE 10/20/2023
Trustee                                                                           DUE DATE 10/20/2023
1600 Parkwood Circle, Ste.                                                           TERMS Due on receipt
200
Atlanta, GA 30339




 ACTIVITY                                                   QTY                        RATE             AMOUNT

 Commission                                                    1                   6,751.90             6,751.90
 Bankruptcy Case #23-57716-JRS
 20% Commission for all personal property items
 10% Commission for all vehicles


                                                            BALANCE DUE
Please mail payments to:
  6470 East Johns Crossing
                                                                                                   $6,751.90
  Suite 160
  Johns Creek, GA 30097




                 We greatly appreciate your business and look forward to working with you again soon!


                                              Please mail payments to:
                                         Bullseye Auction & Appraisal, LLC
                                        6470 East Johns Crossing, Suite 160
                                              Johns Creek, GA 30097
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                                             www.BullseyeAuctions.com


                                             Seller Settlement

              Seller Information                                              Auction Information
    Seller Name: Jason Pettie                                     Auction: Tip Top Tux - 2
Company Name: Chapter 7 Trustee                                         Date: Tuesday, November 7, 2023
       Address: 1600 Parkwood Circle, Suite 200                         Time: 10:00 AM EST
                                                                  Location: 680 Wharton Circle, SW
City, State & Zip: Atlanta, GA 30339                                          Atlanta, GA 30336
 Email Address: jpettie@taylorenglish.com
         Phone: 678-336-7226



                                                       Expenses
     Date            Amount             Merchant                                      Description


                                All expenses will be reconciled with final settlement



                                                       Summary
                                         Auction Gross:        $230,408.00
                                  Auctioneer Commissions:      -$46,081.60
                                  Adjusted Auction Gross:      $184,326.40
                                  Total Auction Expenses:         N/A
                                  Auction Net to Seller:       $184,326.40
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Johns Creek, GA 30097 US
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INVOICE
BILL TO                                                                           INVOICE # 3971
Jason Pettie, Chapter 7                                                               DATE 11/10/2023
Trustee                                                                           DUE DATE 11/10/2023
1600 Parkwood Circle, Ste.                                                           TERMS Due on receipt
200
Atlanta, GA 30339




 ACTIVITY                                                   QTY                        RATE              AMOUNT

 Commission                                                    1                  46,081.60             46,081.60
 Bankruptcy Case #23-57716-JRS
 20% Commission for all personal property items
 10% Commission for all vehicles
 Tip Top Tux - 2


                                                            BALANCE DUE
Please mail payments to:
  6470 East Johns Crossing
                                                                                                 $46,081.60
  Suite 160
  Johns Creek, GA 30097




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                                              Please mail payments to:
                                         Bullseye Auction & Appraisal, LLC
                                        6470 East Johns Crossing, Suite 160
                                              Johns Creek, GA 30097
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                                             Seller Settlement

              Seller Information                                              Auction Information
    Seller Name: Jason Pettie                                     Auction: Tip Top Tux - 3
Company Name: Chapter 7 Trustee                                         Date: Tuesday, November 14, 2023
       Address: 1600 Parkwood Circle, Suite 200                         Time: 10:00 AM EST
                                                                  Location: 140 James Aldredege Blvd.
City, State & Zip: Atlanta, GA 30339                                          Atlanta, GA 30336
 Email Address: jpettie@taylorenglish.com
         Phone: 678-336-7226



                                                       Expenses
     Date            Amount             Merchant                                      Description


                           All expenses will be reconciled separate from final settlement



                                                       Summary
                                         Auction Gross:        $125,009.00
                                Auctioneer Commissions:        -$23,571.80
                                 Adjusted Auction Gross:       $101,437.20
                                 Total Auction Expenses:          N/A
                                  Auction Net to Seller:       $101,437.20
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INVOICE
BILL TO                                                                           INVOICE # 3979
Jason Pettie, Chapter 7                                                               DATE 11/28/2023
Trustee                                                                           DUE DATE 11/28/2023
1600 Parkwood Circle, Ste.                                                           TERMS Due on receipt
200
Atlanta, GA 30339




 ACTIVITY                                                   QTY                        RATE              AMOUNT

 Commission                                                    1                  23,571.80             23,571.80
 Bankruptcy Case #23-57716-JRS
 20% Commission for all personal property items
 10% Commission for all vehicles
 TTT - 3


                                                            BALANCE DUE
Please mail payments to:
  6470 East Johns Crossing
                                                                                                 $23,571.80
  Suite 160
  Johns Creek, GA 30097




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                                              Please mail payments to:
                                         Bullseye Auction & Appraisal, LLC
                                        6470 East Johns Crossing, Suite 160
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                                             Seller Settlement

              Seller Information                                              Auction Information
    Seller Name: Jason Pettie                                     Auction: Anya Bridal
Company Name: Chapter 7 Trustee                                         Date: Thursday, November 9, 2023
       Address: 1600 Parkwood Circle, Suite 200                         Time: 11:00AM EST
                                                                  Location: 1500 Southland Circle, NW, Ste. F
City, State & Zip: Atlanta, GA 30339                                          Atlanta, GA 30318
 Email Address: jpettie@taylorenglish.com
         Phone: 678-336-7226



                                                       Expenses
     Date            Amount             Merchant                                      Description


                                All expenses will be reconciled with final settlement



                                                       Summary
                                         Auction Gross:         $35,000.00
                                  Auctioneer Commissions:       -$7,000.00
                                  Adjusted Auction Gross:       $28,000.00
                                  Total Auction Expenses:         N/A
                                  Auction Net to Seller:        $28,000.00
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INVOICE
BILL TO                                                                           INVOICE # 3973
Jason Pettie, Chapter 7                                                               DATE 11/15/2023
Trustee                                                                           DUE DATE 11/15/2023
1600 Parkwood Circle, Ste.                                                           TERMS Due on receipt
200
Atlanta, GA 30339




 ACTIVITY                                                   QTY                        RATE             AMOUNT

 Commission                                                    1                   7,000.00             7,000.00
 Bankruptcy Case #23-57716-JRS
 20% Commission for all personal property items
 10% Commission for all vehicles
 Anya Bridal


                                                            BALANCE DUE
Please mail payments to:
  6470 East Johns Crossing
                                                                                                   $7,000.00
  Suite 160
  Johns Creek, GA 30097




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                                              Please mail payments to:
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                                             Seller Settlement

              Seller Information                                              Auction Information
    Seller Name: Jason Pettie                                     Auction: Al's Formalwear Warehouse
Company Name: Chapter 7 Trustee                                         Date: Wednesday, November 8, 2023
       Address: 1600 Parkwood Circle, Suite 200                         Time: 10:00 AM CST
                                                                  Location: 6122 South Loop East
City, State & Zip: Atlanta, GA 30339                                         Houston, TX 77087
 Email Address: jpettie@taylorenglish.com
         Phone: 678-336-7226



                                                       Expenses
     Date            Amount             Merchant                                      Description


                                All expenses will be reconciled with final settlement



                                                       Summary
                                         Auction Gross:         $31,900.00
                                  Auctioneer Commissions:       -$3,948.50
                                  Adjusted Auction Gross:       $27,951.50
                                  Total Auction Expenses:         N/A
                                  Auction Net to Seller:        $27,951.50
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(770) 544-7479
merrin@BullseyeAuctions.com
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INVOICE
BILL TO                                                                           INVOICE # 3972
Jason Pettie, Chapter 7                                                               DATE 11/15/2023
Trustee                                                                           DUE DATE 11/15/2023
1600 Parkwood Circle, Ste.                                                           TERMS Due on receipt
200
Atlanta, GA 30339




 ACTIVITY                                                   QTY                        RATE             AMOUNT

 Commission                                                    1                   3,948.50             3,948.50
 Bankruptcy Case #23-57716-JRS
 20% Commission for all personal property items
 10% Commission for all vehicles
 Al's Formalwear


                                                            BALANCE DUE
Please mail payments to:
  6470 East Johns Crossing
                                                                                                   $3,948.50
  Suite 160
  Johns Creek, GA 30097




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                                              Johns Creek, GA 30097
